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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                B GSE Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Bullerdick GSE, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14034 Clarendon Point Court
                                  Huntersville, NC 28078
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecklenburg                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  134 Tower Lane and 74 Long Street Westover, WV
                                                                                                  26501
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    B GSE Group, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    B GSE Group, LLC                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    B GSE Group, LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 6, 2023
                                                  MM / DD / YYYY


                             X   /s/ Bryan M. Bullerdick                                                  Bryan M. Bullerdick
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member-Manager




18. Signature of attorney    X   /s/ Richard S. Wright                                                     Date January 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard S. Wright 24622
                                 Printed name

                                 Moon Wright & Houston, PLLC
                                 Firm name

                                 212 N. McDowell Street
                                 Suite 200
                                 Charlotte, NC 28204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-944-6560                  Email address      rwright@mwhattorneys.com

                                 24622 NC
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name B GSE Group, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NORTH                                                                           Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ACE CONTROLS                                                                                                                                                    $65,068.94
 23435 Industrial
 Park Drive
 Farmington Hills, MI
 48335
 ALLIED                                                                                                                                                          $58,055.67
 ELECTRONICS
 7151 Jack Newell
 Blvd. S
 Fort Worth, TX
 76118
 Bell Davis & Pitt PA                                                                                                                                          $251,174.13
 P. O .Box 21029
 Winston Salem, NC
 27120
 BYZFUNDER NY                                        Lawsuit                   Contingent                                                                      $511,368.42
 LLC                                                                           Unliquidated
 263 W. 38th Street                                                            Disputed
 New York, NY 10018
 DEI Engineering                                                                                                                                               $206,408.00
 1280 Old Innes Road
 Suite 801
 Ottawa, ON K1B5M7
 DMKA LLC d/b/a                                                                Contingent                                                                      $254,499.27
 The Smarter                                                                   Unliquidated
 Merchant                                                                      Disputed
 345 7th Avenue,
 Suite 801
 New York, NY 10001
 FITZMARK                                                                                                                                                        $91,969.03
 950 Dorman St
 Indianapolis, IN
 46202




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 Debtor    B GSE Group, LLC                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 FUTURE ELEC                                                                                                                                                     $49,399.00
 6060 Rockside
 Woods Blvd
 Suite 115
 Independence, OH
 44131
 INDEECO                                                                                                                                                         $74,866.51
 425 Hanley
 Industrial Ct
 Saint Louis, MO
 63144
 Internal Revenue                                    Notice Purposes           Disputed                                                                          $48,349.46
 Service                                             Only
 Bankruptcy Section
 PO Box 7346
 Philadelphia, PA
 19101-7346
 John Bean                                                                                                                                                   $1,025,033.00
 Technologies
 Corporation
 70 West Madison
 Street, Suite 4400
 Chicago, IL 60602
 MQ AUTOMATIO                                                                                                                                                  $154,268.03
 1859 Section Road
 Cincinnati, OH
 45237
 Nextpoint                                                                                                                                                       $54,886.94
 4043 N Ravenswood
 Ave.
 Suite 317
 Chicago, IL 60613
 NY BLOWER                                                                                                                                                       $86,600.00
 4939 Buttermilk
 Hollow Rd
 West Mifflin, PA
 15122
 Queen City Supply                                   Lawsuit                   Disputed                                                                        $154,666.82
 Company
 d/b/a MQ
 Automation
 1859 Section Rd
 Cincinnati, OH
 45237
 Steptoe & Johnson                                                                                                                                               $65,640.10
 P.O. Box 247
 Bridgeport, WV
 26330
 THYSSENKRUPP                                                                                                                                                    $43,942.10
 6050 Oak Tree Blvd
 Independence, OH
 44131

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 Debtor    B GSE Group, LLC                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 TIEFENBACH                                                                                                                                                      $60,282.70
 112 Corporate Drive
 Morgantown, WV
 26501
 Truist Bank                                         Visa Credit Card                                                                                          $106,004.98
 500 E. Broad Street
 Statesville, NC
 28677
 Twist, Inc.                                                                                                                                                   $157,500.00
 5100
 Waynesville-Jamest
 own Road
 Jamestown, OH
 45335




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x




                      4 State Trucks
                      4579 Highway 43
                      Joplin, MO 64804


                      84 GROUP
                      1114 Parkway View Dr
                      Pittsbugh, PA 15205


                      A. Cooper Mechancial
                      171 Leroy Rd
                      Williston, VT 05495


                      ABC Industries
                      PO Box 77
                      Warsaw, IN 46581


                      ABSOLUTE EN
                      2967 Jackson Mill Rd
                      Jane Lew, WV 26378


                      ACCO Engineered Systems, Inc.
                      Attn: Purchasing Department
                      888 East Walnut Street
                      Pasadena, CA 91101


                      Accurate Control Co., LLC
                      4949 Blalock Road
                      Houston, TX 77041


                      ACE CONTROLS
                      23435 Industrial Park Drive
                      Farmington Hills, MI 48335


                      ACE Property and Casualty Insurance Co
                      436 Walnut Street
                      Philadelphia, PA 19106


                      Adams Machinery Company
                      601 N. Skokie Hwy
                      Suite D
                      Lake Bluff, IL 60044


                      Adobe
                      345 Park Avenue
                      San Jose, CA 95110-2704
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                  Advanced Metal Products
                  943 Quarry Road
                  Jamestown, Ohio 45335-0000


                  Advantage Occupational Medicine
                  1370 Johnson Ave
                  1st Floor
                  Bridgeport, WV 26330


                  Aflac
                  World Headquarters
                  1932 Wynnton Road
                  Columbus, GA 31999


                  Agility Fairs & Events Logistics
                  1100 S. Tamiami Trail
                  Suite B
                  Venice, FL 34285


                  AIR FILTERS
                  8282 Warren Rd
                  Houston, TX 77040


                  AIRGAS
                  326 Cheat Rd
                  Morgantown, WV 26508


                  Airport Suppliers
                  Unit 25, Chitterley Business Centre
                  EX United Kingdom


                  Airport Technical Support
                  P.O. Box 276
                  Mansfield, TX 76063


                  AKRON ELECTRIC, INC.
                  2728 Wingate Ave.
                  Akron, OH 44314


                  Alaska Integrated Services, Inc.
                  619 11th Ave
                  Suite 101
                  Fairbanks, AK 99701
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                  All Current Electrical Sales
                  12550 North Houston Rosslyn Road
                  Houston, TX 77086


                  Allegheny Design Services Inc
                  102 Leeway Street
                  Morgantown, WV 26505


                  Allegheny Ind. Supply
                  3854 Corbin Branch Rd
                  Bridgeport, WV 26330


                  ALLIED ELECTRONICS
                  7151 Jack Newell Blvd. S
                  Fort Worth, TX 76118


                  ALLIED WIRE
                  101 Kestrel Drive
                  Collegeville, PA 19426


                  Allsearch Professional Staffing Inc
                  40 Winter Avenue
                  Glen Rock, PA 17327


                  Alpha Omega Shelving Inc
                  800 Hope Hollow Rd
                  Carnegie, PA 15106


                  ALRO STEEL
                  140 Solar Drive
                  Imperial, PA 15126


                  ALRO STEEL
                  3100 E. High Street
                  Jackson, MI 49204


                  AMAZON
                  410 Terry Ave N
                  Seattle, WA 98109


                  Ameresco Solar LLC
                  202 S Live Oak St
                  Suite B
                  Tomball, TX 77375
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                  AmeriBridge
                  5425 Poindexter Drive
                  Indianapolis, IN 46235


                  AMERICA REEL
                  15 Airpark Vista Blvd
                  Dayton, NV 89403


                  American Airlines Insurance Compliance
                  PO Box 100085
                  Duluth, GA 30096


                  American Arbitration Assoc.
                  1301 Atwood Avenue
                  Suite 211N
                  Johnston, RI 02919


                  American Funds
                  Promenade II, Suite 2300
                  1230 Peachtree Street NE
                  Atlanta, GA 30309


                  AMETEK
                  820 Pennsylvania Blvd
                  Feasterville Trevose, PA 19053


                  AMETEK
                  205 Keith Valley Road
                  Horsham, PA 19044


                  Anderson Excavating LLC
                  343 Williams Road
                  Morgantown, WV 00028-6501


                  Anixter
                  4300 Northlake Court
                  Suite I
                  Charlotte, NC 28216


                  APPLIED INDU
                  126 Carr Ln
                  Fairmont, WV 26554
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                  Applied Industrial Technologies
                  22510 Network Place
                  Chicago, IL 60673


                  AQ Transformers
                  823 Fairview Road
                  Wytheville, VA 24382


                  Arkansas Department of Finance and Admin
                  Attn: Department of Revenue
                  1900 W. 7th Street
                  Little Rock, AR 72201


                  ATES
                  Piazzale De Agostini 3
                  Milano, Italy 20146


                  ATLANTIC
                  3908 Frankford Avenue
                  Philadelphia, PA 19124


                  Atlantic Environmental Systems Inc
                  2244 4th Ave., North
                  Lake Worth, FL 33461


                  ATRON GROUP
                  9125 Viscount Row
                  Dallas, TX 75247


                  AUTOMATION D
                  3505 Hutchinson Road
                  Cumming, GA 30040


                  Automation Direct, Inc.
                  PO Box 402417
                  Atlanta, GA 30384-2417


                  AUTOMATION24
                  3600 Horizon Dr
                  King of Prussia, PA 19406


                  Avon Aero Supply Inc
                  3815 Commerce Loop
                  Orlando, FL 32808
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                  Axis Routing and Manufacturing Inc.
                  Attn: Zach Gunwall
                  104-A White Oak Lane
                  Lexington, SC 29073


                  B&M Contractors, Inc.
                  790 Pitts Chapel Road
                  Elizabeth City, NC 27909


                  Baileigh Industrial
                  1625 Dufek Drive
                  PO Box 531
                  Manitowoc, WI 54221


                  BAKER GAS
                  2920 Douglas Road
                  Toledo, OH 43606


                  BARDAC
                  40 Log Canoe Circle
                  Stevensville, MD 21666


                  BARON
                  102 Four Coins Dr
                  Suite 4
                  Canonsburg, PA 15317


                  Basic
                  PO Box 88297
                  Milwaukee, WI 53288-0001


                  Basic Wire & Cable
                  3900 N Rockwell Street
                  Chicago, IL 60618


                  BEDFORD REIN
                  264 Reynoldsdale Rd.
                  Bedford, PA 15522


                  Bell Davis & Pitt PA
                  P. O .Box 21029
                  Winston Salem, NC 27120
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                  Benaka Inc.
                  7 Lawrence Street
                  New Brunswick, NJ 08901


                  Benchmark Construction Co. Inc.
                  2260 Southwind Blvd.
                  Bartlett, IL 60103


                  Benchmark Metal Services
                  P. O. Box 746
                  Krum, TX 76249


                  Berkley Southeast Insurance Group
                  4820 Lake Brook Dr
                  Suite 300
                  Glen Allen, VA 23060


                  Berkley Southeast Insurance Group
                  1745 N. Brown Road, Suite 400
                  Lawrenceville, GA 30043-8156


                  BGSE ASSY
                  134 Tower Ln
                  Morgantown, WV 26501


                  BITZER
                  P.O. Box 10210
                  Atlanta, GA 30368-2010


                  BITZER
                  4080 Enterprise Way
                  Flowery Branch, GA 30542


                  BKS Technical Solutions
                  5A James St
                  Georgetown, Ontario L7G 2H2


                  BKS Technical Solutions
                  85 Belmont Blvd.
                  Georgetown
                  CANADA
                  ON L7G6E7
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                  BKW GSE Consulting
                  3809 Verona Terrace
                  Davis, CA 95618


                  BLACKHAWK
                  2155 Stonington Ave
                  Unit 103
                  Hoffman Estates, IL 60169


                  BLIND RIVET
                  2520 WEST CLEMENT CIRCLE
                  Flag Staff, AZ 86001


                  BM KRAMER
                  69 South 20th St
                  Pittsburgh, PA 00010-5203


                  BOE-G Trucking LLC
                  PO Box 36
                  Blacksville, WV 26521


                  Boom Air, LLC
                  33 W. First Street, Suite 200
                  Dayton, OH 45402


                  Booth, Strange & Daniel
                  201 W. Main Street, Suite B
                  Clarksburg, WV 26301


                  BOYD WELDING
                  802 NW 27th Ave
                  Ocala, FL 34475


                  BROWN'S COAT
                  161 Edsell Rd
                  Mt. Clare, WV 26403


                  BRUNSWICK
                  P. O. Box 734159
                  Chicago, IL 60673-4159


                  Brunswick Companies
                  5309 Transportation Blvd.
                  Cleveland, OH 44125
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                  Bryan M. Bullerdick
                  14034 Clarendon Point Ct
                  Huntersville, NC 28078-7449


                  Bryan S. Henry
                  c/o Charles C. Wise III
                  Bowles Rice LLP
                  125 Granville Square, Suite 400
                  Morgantown, WV 26501


                  Butler Gas
                  110 Nichol Avenue
                  Mc Kees Rocks, PA 15136-2624


                  Butterfly Valves & Controls
                  671 C Industrial Blvd.
                  Grapevine, TX 76051


                  BYZFUNDER NY LLC
                  263 W. 38th Street
                  New York, NY 10018


                  Cable Ties and More
                  961 Alness Street
                  ON M3J 2J1
                  CANADA


                  California Department of Tax and Free Ad
                  Attn: Account Information Group MIC:29
                  PO Box 942879
                  Sacramento, CA 94279-0029


                  CANDURA
                  775 Pacific Rd
                  Unit 26
                  CANADA
                  Oakville, ON L6L 6M4


                  Cannon Load Banks
                  85 North Industrial Rd
                  Palmetto, GA 30268


                  Carolina Chillers LLC
                  3810 Ladson Rd
                  Suite A
                  Ladson, SC 29456
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                  CD AERO
                  167 John Verente Blvd
                  New Bedford, MA 02745


                  CDE
                  1605 Rodney French Blvd.
                  New Bedford, MA 02744


                  CDE2
                  PO Box 10199
                  Columbia, SC 29202-3199


                  Charles C. Wise III
                  Bowles Rice LLP
                  125 Granville Square, Suite 400
                  Morgantown, WV 26501


                  CHASE DEFENSE PARTNERS
                  307 E Street
                  Hampton, VA 23661


                  Cheat Lake Excavating
                  3521 Camp Run Rd
                  Morgantown, WV 26508


                  Chris Lester
                  924 Ashton Place
                  Morgantown, WV 26508


                  Chucks Heating & AC, Inc
                  P.O. Box 53
                  Colchester, VT 05446


                  Cintas
                  P.O. Box 630910
                  Cincinnati, OH 45263


                  Cintas
                  100 Scott Avenue
                  Morgantown, WV 26508


                  Clark Construction Group, LLC
                  NAVFAC Washington, DC
                  7500 Old Georgetown Road
                  Bethesda, MD 20814
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                  Clark Testing
                  821 East Front Street
                  Buchanan, MI 49107


                  CLEN-CO
                  PO Box 8172
                  Springfield, MO 65801


                  CMD Group
                  P.O. Box 207121
                  Dallas, TX 75320


                  COILMASTER
                  440 Industrial Drive
                  Moscow, TN 38057


                  COLD & COLDE
                  30 N. Gould Street
                  Sheridan, WY 82801


                  COLUMBIA PIP
                  41554 Koppernick Rd
                  Canton, MI 48187


                  Comcast
                  PO Box 70219
                  Philadelphia, PA 19101


                  Comcast
                  PO Box 37601
                  Philadelphia, PA 19101


                  Compressor World
                  31 Schoosett Street
                  Unit 400
                  Pembroke, MA 02359


                  Comptroller of Maryland
                  Attn: Ombudsman's Office
                  80 Calvert Street
                  PO Box 466
                  Annapolis, MD 21404-0466
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                  CONTROL PROD
                  1434 W Sam Houston Pkwy N 190
                  Houston, TX 77043


                  Core & Main
                  8388 Water St
                  Stonewood, WV 26301


                  Craig Shaft
                  P.O. Box 157
                  Augusta, KS 67201


                  Crane 1 Services, Inc.
                  11301-B MacCorkie Ave
                  Charleston, WV 25315


                  Crane 1 Services, Inc.
                  1027 Byers Road
                  Miamisburg, OH 45342


                  Crane Man, Inc.
                  5525 Elk River Road N
                  Elkview, WV 25071


                  CRESCENT
                  166 Thorn Hill Rd
                  Warrendale, PA 15086


                  Crescent Electric Supply SLC
                  2080S Industrial Rd.
                  Suite A
                  Salt Lake City, UT 84104


                  Crescent Electrical Supply Co.
                  P.O. Box 500
                  East Dubuque, IL 61025


                  CSM FAB
                  226 Clay Street
                  Pittsburgh, PA 15215


                  Cygnus Expositions
                  801 E Cliff Rd
                  Suite 201
                  Burnsville, MN 55337
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                  D.H. Kay Sales Inc
                  143 Still View Ave.
                  CANADA
                  Pointe Claire, QC H9R 2X9


                  Dakota Supply Group
                  334 East 26th St
                  Williston, ND 58801


                  Daniel Kleve
                  633 N. Main St
                  Rose Hill, KS 67133


                  David P. Billings
                  Robert G. Crockett
                  Fabian VanCott
                  215 South State Street, Suite 1200
                  Salt Lake City, UT 84111-2323


                  David R. Stone
                  Dinsmore & Shohl, LLP
                  215 Don Knotts Blvd., Suite 310
                  Morgantown, WV 26501


                  David Simantob
                  Shannon L. Santos
                  Wilson Elser Moskowitz Edleman & Dicker
                  555 S. Flower Street, Suite 2900
                  Los Angeles, CA 90071-2407


                  DBS Associates Inc
                  2480 Grand Ave
                  Vista, CA 92081


                  DEI Engineering
                  1280 Old Innes Road
                  Suite 801
                  Ottawa, ON K1B5M7


                  DEKAL LOAD B
                  2000 Technology Drive
                  Pittsburgh, PA 15219


                  Dekal Load Banks
                  2000 Technology Drive
                  Pittsburgh, PA 15219
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                  DELP
                  620 Glenwood Way
                  Butler, PA 16001


                  DELTA
                  28 Congress Circle West
                  Roselle, IL 60172


                  Devall Brothers Inc
                  326 Diamond Ave
                  Morgantown, WV 26505


                  DFW International Airport
                  Attn: Airport Concessions Manager
                  PO Box 619428
                  DFW Airport, TX 75261-9428


                  Digi-Key
                  701 Brooks Avenue South
                  PO Box 677
                  Thief River Falls, MN 56701-0677


                  Diller AG Equipment
                  9230 Mountain BrookRd
                  St. Thomas, PA 17252


                  Direct Connect Transaport
                  7161 55th St. N
                  Oakdale, MN 55128


                  DIRIG SHEET METAL
                  918 WEST COOK ROAD
                  Fort Wayne, IN 46825


                  DMKA LLC d/b/a The Smarter Merchant
                  345 7th Avenue, Suite 801
                  New York, NY 10001


                  DOCUPRINT LL
                  5000 Greenbag Rd
                  #C6
                  Morgantown, WV 26501
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                  DODDRIDGE CO
                  1114 Speedway Ave.
                  Fairmont, WV 26554


                  Doddridge Controls Inc.
                  1114 Speedway Ave.
                  Fairmont, WV 26554


                  Domain at Town Centre
                  5000 Domain Drive
                  Morgantown, WV 26501


                  Dominion Energy
                  PO Box 26783
                  Richmond, VA 23261-6783


                  Donald E. Robinette Jr.
                  137 Sand Banks Rd
                  Morgantown, Wv 26508


                  Dwyer Instruments
                  P.O. Box 373
                  102 Indiana Hwy
                  Michigan City, IN 46361


                  DYNELL GMBH
                  Mistelbacher Strabe 17
                  4613 Mistelbach bei Wels
                  Austria


                  E Risk Services, LLC
                  227 Route 206
                  Flanders, NJ 07836


                  E2
                  1000 Circle 75 Parkway SE
                  Suite 300
                  Atlanta, GA 30339


                  E2S WARNING
                  17633 Telge Rd
                  Houston, TX 77429
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                  Ease
                  500 Treat Avenue
                  San Francisco, CA 94110


                  EBS HVAC
                  117 New Frederick St
                  Wilkes Barre, PA 18702


                  ECHO GLOBAL
                  600 W. Chicago Ave
                  Suite 725
                  Chicago, IL 60654


                  Echo Global
                  2850 Gateway Oaks Drive
                  Suite 475
                  Sacramento, CA 95833


                  Elec Tek, LLC
                  19207 Coachmans Trace
                  Cornelius, NC 28031


                  ELECT CONSEPTS
                  PO Box 1278
                  Eatontown, NJ 07724


                  Electric Motor Wholesale, Inc.
                  2575 Morgans Choice Road
                  Camden Wyoming, DE 19934


                  ELECTROTECH
                  440 Industrial Dr
                  North Wales, PA 19454


                  ELESA
                  1930 Case Parkway N.
                  Twinsburg, OH 44087


                  eMARS, Inc.
                  2922 Mallard Lane
                  Germantown, TN 38138-7661


                  Endeavor Business Media LLC
                  P.O.Box 197565
                  Nashville, TN 37219-7565
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                  ENERGY CONTROL
                  10220 West State Rd 84
                  Suite 9
                  Davie F, FL 33324


                  Energy Task Force
                  2501 Clark St
                  Apopka, FL 32703


                  Engel Electric Company
                  5280 11th St
                  Rockford, IL 61109


                  ERIKS -OGDEN
                  1327 W. 2550 S
                  Ogden, UT 84401-3239


                  ERIKS North America, Inc.
                  PO Box 734055
                  Chicago, IL 60673-4055


                  ESCA Industries Ltd
                  PO Box 429
                  Hatfield, PA 19440


                  eSmith IT
                  14316 Reese Blvd. Suite B-112
                  Huntersville, NC 28078


                  eSmith IT Consulting
                  14316 Reese Blvd
                  Suite B-112
                  Huntersville, NC 28078


                  ETF WEST LLC
                  2940 W Osborne Rd
                  Phoenix, AZ 85017


                  ETHERIDGE ELECTRIC
                  6711 Shiloh Rd.
                  Hahira, GA 31632
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                  Etolin Strait Partners, LLC
                  7440 Central Business Park Drive
                  Suite 104
                  Norfolk, VA 23513


                  EU Automation
                  871 Busse Road
                  Elk Grove, IL 60007


                  Extrude A Trim
                  360 Carlingview Drive
                  CANADA
                  Etobicoke, ON M9W 5X9


                  Fab-Cut Systems Inc
                  1585 Centennial Drvie
                  CANADA
                  Kingston, Ontario K&P 0K4


                  Farwest Corrosion Control
                  12029 Regentview Ave
                  Downey, CA 90241


                  Farwest Corrosion Control
                  6 Pheasant Run
                  Newtown, PA 18940


                  FASTENAL COMPANY
                  P.O. Box 1286
                  Winona, MN 55987-1286


                  Federal Express
                  P.O. Box 223125
                  Pittsburgh, PA 15251


                  Federal Express
                  942 South Shady Grove Road
                  Memphis, TN 38120


                  Fenders at Laurel Bay, LLC
                  P.O. Box 4432
                  Beaufort, SC 29906
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                  FERGUSON
                  160 SPRING STREET
                  CHARLESTON, WV 25301


                  FirstEnergy Corp.
                  76 South Main Street
                  Akron, OH 44308


                  FITZMARK
                  950 Dorman St
                  Indianapolis, IN 46202


                  FITZMARK
                  PO Box 010825
                  Milwaukee, WI 53288-8825


                  FLEXICRAFT
                  168747 Collections Center Drive
                  Chicago, IL 60693


                  Florida Department of Revenue
                  5050 W Tennessee St.
                  Tallahassee, FL 32399-0100


                  FLUIDRAULICS
                  9150 Marshall Road
                  Cranberry Township, PA 16066


                  FPI SENSORS
                  11616 Harry Hines Blvd
                  Dallas, TX 75229


                  FT THOMAS
                  303 High Tech Drive
                  Oakdale, PA 15071


                  FT THOMAS
                  106 Railroad Drive
                  Warminster, PA 18974


                  FUSECO
                  1865 Corporate Dr
                  Suite 210
                  Norcross, GA 30093
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                  FUTURE ELEC
                  6060 Rockside Woods Blvd
                  Suite 115
                  Independence, OH 44131


                  Galaxy Electronics
                  201 East Arapaho Road
                  Richardson, TX 75081


                  Galco
                  1451 E. Lincoln Avenue
                  Madison Heights, MI 48071


                  Gaylor Electric, Inc.
                  5750 Castle Creek Pkwy North Drive
                  #400
                  Indianapolis, IN 46250


                  GCR, Inc.
                  NMcb 273 Holtman Avenue
                  Gulfport, MS 39501


                  George L Wilson
                  RT 73 North
                  Bridgeport, WV 26330


                  GEXPRO
                  1600 West Carson Street
                  Suite 2
                  Pittsburgh, PA 15219


                  GI Industries Inc.
                  525 Fan Hill Rd
                  Monroe, CT 06468


                  GILSON
                  535 Rochester Rd
                  Pittsburgh, PA 15237


                  GIS INSULAT
                  23 Furnace Street Extension
                  McKees Rocks, PA 15136
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                  GLACIER TANK
                  1301 NE 144th St
                  Suite 125
                  Vancouver, WA 98685


                  Gleeson Reel
                  600 S. Clark St
                  Mayville, WI 53050


                  Global Plasma Solutions
                  3101 Yorkmont Rd
                  Suite 400
                  Charlotte, NC 28208


                  GLOBAL TEST
                  3310 Kitty Hawk Road
                  Wilmington, NC 28405


                  Gohz Inc.
                  23555 Golden Springs Dr
                  Diamond Bar, CA 91765


                  Gordan Electric Supply
                  1290 N Hobbie
                  PO Box 231
                  Kankakee, IL 60901-0231


                  GORDON
                  711 N Ladd St
                  Pontiac, IL 61764


                  GPI Solutions
                  1300 Keller Pkwy
                  Suite 1913
                  Keller, TX 76248


                  Grainger
                  100 Grainger Parkway
                  Lake Forest, IL 60045-5201


                  GreerWalker LLP
                  227 West Trade Street
                  Suite 1100
                  Charlotte, NC 28202
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                  Grupo FLR
                  FTL ENGENHARIA E INSTALA ES LTDA
                  R TOLEDO MALTA 00483 - VILA ISOLINA MAZZ
                  BRAZIL
                  Sao Palo, 02083-060


                  Guardian Life
                  10 Hudson Yards
                  New York, NY 10001


                  Hall Technical Svc.
                  514 Mecklem Lane
                  Ellwood City, PA 16117


                  Harrington Industrial Plastic, LLC
                  14 Leonberg Road
                  Cranberry Township, PA 16066


                  Harrington Industrial Plastics, CA
                  7557 Convoy Court
                  San Diego, CA 92111


                  Harry N. Arger
                  Steven McMahon Zeller
                  Dykema Gossett PLLC
                  10 S. Wacker Drive, Suite 2300
                  Chicago, IL 60606


                  Hawke International
                  4140 World Houston Pkwy
                  Houston, TX 77032


                  Hensel Phelps Construction Co.
                  841 Bishop Street, Suite 2001
                  Honolulu, HI 96813


                  Hite Company
                  P.O. Box 1328
                  Birmingham, AL 35201


                  HMR Electrical Contracting LLC
                  221 Simms St
                  Shreveport, LA 71107
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                  HOME DEPOT
                  115 Matthews Drive
                  Uniontown, PA 15401


                  Hope Gas
                  PO Box 26783
                  Richmond, VA 23261


                  Hoy Redi-Mix Co
                  412 Chaplin Road
                  Morgantown, WV 26501


                  HS Spindles LLC
                  22349 La Palma Avenue
                  Yorba Linda, CA 92887


                  Hubbell Electrical Products
                  25409 Network Place
                  Chicago, IL 60673


                  Hunt Construction Group, Inc.
                  c/o CR Solutions
                  11675 Great Oaks Way, Suite 275
                  Alpharetta, GA 30022


                  HUNTINGTON STEEL
                  540 Dunkard Ave
                  Westover, WV 26505


                  HVAC INDUSTRIES
                  633 Central Ave
                  Charleston, WV 25302


                  HY-TECH SALES, INC
                  3170 Leechburg Road
                  Pittsburgh, PA 15239


                  IAP
                  PO Box 56
                  Phillips, WI 39922


                  IEWC CORP
                  Dept CH-Box 17084
                  Palatine, IL 60055-7084
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                  IFF, INC.
                  575-A Forest Pkwy
                  College Park, GA 30349


                  IFM Efector, Inc.
                  1100 Atwater Drive
                  Malvern, PA 19355


                  IFS COATING
                  3601 N. Interstate 35
                  Gainesville, TX 76240


                  Illinois Department of Revenue
                  Attn: Bankruptcy Unit
                  PO Box 19035
                  Springfield, IL 62794-9035


                  INDEECO
                  425 Hanley Industrial Ct
                  Saint Louis, MO 63144


                  Indeed
                  125 West 55th Street
                  Brooklyn, NY 11211


                  Industrial Maintenance Solutions, LLC
                  1417 A Mill Bay Rd
                  Kodiak, AK 99615


                  Industrial Maintenance Solutions, LLC
                  2519 Fairmont Rd
                  Morgantown, WV 26501


                  Industrial Motor & Controls
                  4540 Glenbrook Drive
                  Willoughby, OH 44094


                  Internal Revenue Service
                  Bankruptcy Section
                  PO Box 7346
                  Philadelphia, PA 19101-7346
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                  INTERSTATE WIRE
                  2635 Observation Trail
                  PO Box 489
                  Rockwall, TX 75087


                  INTERTEK
                  1809 10th Street
                  Suite 400
                  Plano, TX 75074


                  INTERTEK
                  3933 US Route 11
                  Cortland, NY 13045


                  Itw GSE Inc
                  11001 US Highway 41 N
                  Palmetto, FL 34221


                  IW SALES
                  PO Box 505
                  505 Millers Run Rd
                  Morgan, PA 15064


                  J.P.L. Compressor Service Inc.
                  7540 Suzi Ln
                  Westminster, CA 92683


                  Jaclyn Willey
                  14255 James Rd
                  Rogers, MN 55374


                  James Iron & Steel Inc
                  2819 Top Hill Rd
                  Monroe, NC 28110


                  Jarco Enterprises LLC
                  30 Gateway Dr
                  Fairmont, WV 26554


                  Jay-Cee Sales & Rivet, Inc
                  32861 Chelsey Dr
                  Farmington, MI 48336
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                  JBT AeroTech
                  1805 West 2250 South
                  Ogden, UT 84401


                  JC Cutting Solutions and Fabrication Inc
                  1472 Madden Dr
                  Monroeville, PA 15146


                  Jefferd's Corporation
                  2070 Winfield Rd
                  St Albans, WV 25177


                  Jeffrey P. McSherry
                  201 East Fifth Street #1110
                  Cincinnati, OH 45202


                  JEM
                  8700 West Bradley Road
                  Milwaukee, WI 53224


                  JEM
                  21410 N. 15th Lane
                  Suite 114
                  Phoenix, AZ 85027


                  John Bean Technologies Corporation
                  70 West Madison Street, Suite 4400
                  Chicago, IL 60602


                  John Davis
                  1907 Stone Run Street
                  Morgantown, WV 26505


                  Johnson Storage & Moving
                  8709 Kerns Street
                  San Diego, CA 92154


                  Jonathan League
                  1099 Smithtown Rd
                  Morgantown, WV 26508


                  JOYCE DAYTON
                  PO Box 206674
                  Dallas, TX 75320
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                  JOYCE DAYTON
                  PO Box 1630
                  Dayton, OH 45401


                  Kable Intelligence
                  2 Maidstone Road
                  United Kingdom
                  Foots Cray, Kent DA14 5 HZ


                  Kallidus Technologies, Inc.
                  175 Cabot Street, Suite 300
                  Lowell, MA 01854


                  Kansas Department of Revenue
                  PO Box 3506
                  Topeka, KS 66625-3505


                  Karl Johansen
                  222 Lincoln St
                  Waterbury, VT 05676


                  KATY SPRING
                  1999 Katy Spring Cir
                  Katy, TX 77493


                  Keith Fields
                  650 Pine St
                  Greenville, OH 45331


                  KELE
                  3300 Brother Blvd
                  Memphis, TN 38133


                  Kendall Electric inc
                  415 Levy Rd
                  Fort Wayne, IN 46825


                  KENNARD IND
                  623 Hanley Industrial Court
                  Saint Louis, MO 63144


                  KODIAK CONT
                  734 Oakdridge Dr
                  Romeoville, IL 60446
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                  KORNS GALV
                  75 Bridge Street
                  Johnstown, PA 15902


                  KTECH INDUST
                  20 Regan Rd
                  Unit 1
                  CANADA
                  Brampton, ON L7A1C3


                  Kuefler Lighting Protection
                  P.O. Box 209
                  St. Ingatius, MT 59865


                  KWR Construction, Inc.
                  76 N. Ten Pond Place
                  Sierra Vista, AZ 85635


                  Laguna Tools Inc
                  744 Refuge Way
                  Suite 200
                  Grand Prairie, TX 75050


                  LARSON
                  9419 E US HWY 175
                  Kemp, TX 75143


                  LEAF Capital Funding LLC
                  2005 Market Street, 14th Floor
                  Philadelphia, PA 19103


                  Led Pros Worldwide
                  P.O. Box 903176
                  Palmdale, CA 93590


                  Libra Electric
                  4634 Enterprise Dr.
                  Oklahoma City, OK 73128


                  LOWES
                  9595 Mall Road
                  Morgantown, WV 26501
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                  Mac-Engineering
                  2000 Northcrest Drive
                  Plano, TX 75075


                  Major Electronix Corporation
                  33801 Curtis Blvd
                  Suite 110
                  Eastlake, OH 44095


                  MAPLE SYSTEM
                  808 134th Street SW
                  Everett, WA 98204


                  MARINE PS
                  127 Industrial Drive
                  White House, TN 37188


                  Mark Gordin
                  13767 S.W. 190th Street
                  Rose Hill, KS 67133


                  Marshall Automation
                  923 S. Main St.
                  Algonquin, IL 60102


                  Marvin Weber
                  104 E. Wagon Rd
                  Rose Hill, KS 67133


                  Mary E Small
                  123 Euclid Ave
                  Clarksburg, WV 26301


                  MASON&BARRY
                  301 Smiley Drive
                  Saint Albans, WV 25177


                  MasterFlex Group
                  Willy Brandt- Allee- 300 4581
                  Germany
                  Gelsenkirchen


                  Matheson Tri-gas Inc
                  P.O. Box 347297
                  Pittsburgh, PA 15251-4297
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                  Matheson Tri-gas Inc
                  213 Meadowlane Avenue
                  Fairmont, WV 26554


                  MAYER ELECTRIC
                  2245 Schlumberger St.
                  Building 8
                  Houston, TX 77023


                  MAYER ELECTRIC
                  PO Box 1328
                  Birmingham, AL 35201-1328


                  McGriff Insurance Services
                  4309 Emperor Boulevard
                  Suite 300
                  Durham, NC 27703


                  MCMASTER CARR
                  P.O. Box 7690
                  Chicago, IL 60680-7690


                  MCNAUGHTON
                  2745 Whitehall Park Dr
                  Suite 100
                  Charlotte, NC 28273


                  MERCURY
                  P.O. Box 710
                  25028 US 12 East
                  Edwardsburg, MI 49112


                  MERSEN
                  374 Merrimac Street
                  Newburyport, MA 01950


                  Mesa
                  PO Box 52608
                  Tulsa, OK 74152


                  MICRO-SEMICO
                  14F Lippo Sun Plaza, 28 Canton Rd
                  Unit 13
                  Tsim Sha Tsui, Hong Kong
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                  Middletown ANG
                  79 MUSTANG ALLEY
                  Middletown, PA 17057


                  MINERD
                  101 Red Nine Lane
                  Lawrence, PA 15055


                  MINERD
                  PO Box 581
                  Levittown, PA 19055


                  Mirack Construction, Inc.
                  1801 South Jen Tilly Lane
                  Suite D-18
                  Tempe, AZ 85281


                  MITSUBISHI
                  5900-A Katella Ave
                  Cypress, CA 90630


                  MITSUBISHI
                  167 John Vertente Blvd.
                  New Bedford, MA 02745


                  Mon Power
                  PO Box 3615
                  Akron, OH 44309


                  MONT LEVINE
                  402 Auburn St
                  PO Box 2080
                  Fairmont, WV 26555-2080


                  MOORE INDUST
                  77 Circle Freeway Dr
                  Cincinnati, OH 45246


                  Morgantown Septic Portable Toilets
                  PO Box 2205
                  Westover, WV 26501


                  Morgantown Utility Board (MUB)
                  278 Green Bag Road
                  Morgantown, WV 26501
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                  Motion Industries
                  1666 Integrity Drive East
                  Columbus, OH 43209


                  MOTION INDUSTRIES
                  27 Rodeo Drive
                  Fairmont, WV 00092-6554


                  Motion Industries, Inc.
                  PO Box 1477
                  Birmingham, AL 35201


                  Mountain State Trailer Rentals
                  482 Lower Aaron's Creek Road
                  Morgantown, WV 26508


                  Mountain State Waste
                  PO Box 3706
                  New York, NY 10009


                  Mountain State Waste
                  P.O. Box 7839
                  Charleston, WV 25356


                  Mouser Electronics, Inc.
                  c/o The Leviton Law Firm
                  One Pierce Place, Suite 725W
                  Itasca, IL 60143


                  MQ AUTOMATIO
                  1859 Section Road
                  Cincinnati, OH 45237


                  Mt State Trailer Rental Inc
                  482 Lower Aaron's Creek Rd
                  Morgantown, WV 26508


                  MULTI-WING
                  PO Box 368
                  Burton, OH 44021


                  N.T.Ruddock
                  26123 Broadway Ave
                  Bedford, OH 44146
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                  NABSON INC
                  45 Independence Drive
                  Taunton, MA 02780


                  NATIONAL GRA
                  5041 Regent St
                  #102
                  CANADA
                  Burnaby, BC V5C 4H4


                  National Hydraulic Supply
                  252 N. Mozart St
                  Palatine, IL 60067


                  NATIONAL LADDER
                  29350 John R Rd
                  Suite 100
                  Madison Heights, MI 48071


                  NAVFAC Southwest Camp Pendleton
                  ROPCN Marine Corp.
                  PO Box 555229 Building. 22101
                  Camp Pendleton, CA 92055


                  Navitas Credit Corp.
                  201 Executive Center Drive, Suite 100
                  Columbia, SC 29210


                  NC Department of Revenue
                  PO Box 1168
                  Raleigh, NC 27602


                  New Banks Construction & Property Consul
                  P. O .Box 101270
                  Arlington, VA 22201


                  New York State Dept of Taxation and
                  Finance Bankruptcy Section
                  Attn: Bankruptcy Unit
                  PO Box 5300
                  Albany, NY 12205-0300


                  Nextpoint
                  4043 N Ravenswood Ave.
                  Suite 317
                  Chicago, IL 60613
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                  NOLI
                  249 South Plant St
                  Morgantown, WV 26501


                  Nook Industries
                  4950 East 49th Street
                  Cleveland, OH 44125


                  Nook Industries
                  28768 Network Place
                  Chicago, IL 60673-1287


                  Norlake Mfg Co
                  39301 Taylor Parkway
                  Ridgeville, OH 44093


                  Norris, Stewart & Ralston, PA
                  PO Drawer 1068
                  Statesville, NC 28687


                  North Carolina Department of Revenue
                  Attention: Bankruptcy Unit
                  PO Box 1168
                  Raleigh, NC 27602-1168


                  Northco Corporation
                  PO Box 2100
                  Morgantown, WV 26502


                  Northern Air Systems
                  3605 Buffalo Road
                  Rochester, NY 14624


                  NORTHERN TOOL
                  2800 Southcross Drive West
                  Burnsville, MN 55306


                  Nova 1 Properties LLC
                  2519 Fairmont Rd
                  Morgantown, WV 26501
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                  Nova I Properties, LLC
                  c/o Charles C. Wise III
                  Bowles Rice LLP
                  125 Granville Square, Suite 400
                  Morgantown, WV 26501


                  NY BLOWER
                  4939 Buttermilk Hollow Rd
                  West Mifflin, PA 15122


                  NY BLOWER
                  7660 W Quincy Street
                  Willowbrook, IL 60527


                  O.C. Cluss Lumber Co.
                  201 W. Main Street, Suite B
                  Clarksburg, WV 26301


                  OC CLUSS
                  2025 Pleasant Valley Rd
                  Fairmont, WV 26554


                  OC CLUSS
                  PO Box 696
                  Uniontown, PA 15401


                  OEM
                  1025 Cobb Place Blvd
                  Kennesaw, GA 30144


                  OEM
                  PO Box 743045
                  Atlanta, GA 30374-3045


                  Ohio Department of Taxation
                  Attn: Compliance Business Tax Division
                  PO Box 1090
                  Columbus, OH 43216-1090


                  Omega Electric
                  31 Commerce Ave
                  South Burlington, VT 05403
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                  Open Road Transportation
                  P.O. Box 627
                  Dallas, OR 97338


                  PA Department of Revenue
                  PO BOX 280904
                  Harrisburg, PA 17128-0904


                  PACER
                  1555 Apex Rd
                  Sarasota, FL 34240


                  PAGE GSE
                  2050 Cessna Dr
                  Vacaville, CA 95688


                  Paradigm Architecture
                  2223 Cheat Rd
                  Morgontown, WV 26508


                  Patrick Lester
                  1032 Ashton Drive
                  Morgantown, WV 26508


                  Pender Brothers
                  1851 Ribaut Rd
                  PO Box 122
                  Port Royal, SC 29935


                  Philatron Wire & Cable
                  15315 Cornet Ave
                  Santa Fe Springs, CA 90670


                  Phoenix Solutions LLC
                  1910 Dents Run Rd
                  Morgantown, WV 26501


                  Piller Germany GmbH
                  Abgunst 24
                  Germany
                  Osterode, 27520


                  Piller Power Systems Inc.
                  45 WesWarren Drive
                  Middletown, NY 10941-2047
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                  Pittsburgh Powder Coating
                  621 McLaughlin Run Road
                  Bridgeville, PA 15017


                  Pittsburgh Spray
                  3601 Library Rd
                  Pittsburgh, PA 15234


                  PLS
                  2000 Westinghouse Drive
                  Suite 201
                  Cranberry Twp, PA 16066


                  POLY CASE
                  1305 Chester Industrial Pkwy
                  Avon, OH 44011


                  POSI CHARGE
                  222 E HUNTINGTON
                  Suite 118
                  Monrovia, CA 91016


                  Power Science Engineering, LLC
                  3458 S. 368th Place
                  Auburn, WA 98001-8814


                  Premier Air Solutions, LLC
                  5890 S 5900 Whooper
                  Hooper, UT 84315


                  Premier Computer Services
                  23 South University Ave
                  Morgantown, WV 26508


                  Preset 31 LLC
                  360 Frontier Street
                  Morgantown, WV 26505


                  PRESET 31, LLC
                  360 Frontier Avenue
                  Attn: Kevin Salisbury
                  Morgantown, WV 26502
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                  Primaerica
                  9820 Northcross Center Ct.
                  Suite 151
                  Huntersville, NC 28078-7302


                  Process Air
                  201 Sun Valley Circle
                  Fenton, MO 63026


                  Pump Products
                  190 Main Avenue
                  Wallington, NJ 07057


                  Quality Machine Company
                  P. O. BOX 878
                  Bridgeport, WV 26330


                  Queen City Supply Company
                  d/b/a MQ Automation
                  1859 Section Rd
                  Cincinnati, OH 45237


                  Quill Corporation
                  100 Schelter Road
                  Lincolnshire, IL 60069-3621


                  R.E. Michel
                  PO Box 70510
                  Philadelphia, PA 19176-0510


                  RADWELL
                  600 N Forsythe St
                  Franklin, IN 46131


                  Ranger
                  1121 Old Jersey Ridge Rd
                  Maysville, KY 41056


                  RCM
                  110 Mason Circle
                  Suite D
                  Concord, CA 94520
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                  Rebecca L. Hill
                  Christensen & Jensen, P.C.
                  257 East 200 South, Suite 1100
                  Salt Lake City, UT 84111-2047


                  Reelcraft Industries Inc.
                  2842 E. Business Hwy 30
                  Columbia City, IN 46725


                  Regal Beloit America - Leeson Electric
                  3750 Solutions Center
                  Chicago, IL 60677


                  REM Device
                  Via Munari , 72
                  36055 Nove VI
                  Italy


                  Remke Industries, Inc.
                  730 Lakeview Parkway
                  Vernon Hills, IL 60061


                  REXEL, INC.
                  14951 Dallas Parkway
                  Dallas, TX 00075-0001


                  RFC
                  525 West Brooks Street
                  Ontario, CA 91762


                  Richard Schwabel
                  226 Limestone Rd
                  Chapin, SC 29036


                  RIKER
                  PO Box 6976
                  Toledo, OH 43612


                  RIKER
                  PO Box 353155
                  Toledo, OH 43635-3155


                  Robert Woo
                  4005 Blue Spruce Ct
                  Jamestown, OH 45335
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                  ROCHESTER GA
                  PO Box 29242
                  Dallas, TX 75229


                  Rochester Sensors
                  11616 Harry Hines Blvd.
                  PO Box 29242
                  Dallas, TX 75229


                  RTA Protek, Inc.
                  313 Stroud Lane
                  Garland, TX 75043


                  RYERSON
                  10100 Singer Drive
                  Streetsboro, OH 44241


                  RYERSON
                  555 N. Yearling Road
                  Columbus, OH 43213-1395


                  SAM
                  GSA Headquarters
                  1800 F St NW
                  Washington, DC 20405


                  Scarborough Intl Ltd
                  10841 N. Ambassador Dr
                  Kansas City, MO 64153


                  Schaffner North America
                  823 Fairview Rd
                  Wytheville, VA 24382


                  SEMA
                  15 rue Anatol
                  FRANCE
                  Les Bains, 0 F-70300


                  Semler Industries Inc
                  3800 N. Carnation St.
                  Franklin Park, IL 60131
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                  SENSATA
                  529 Pleasant St
                  Attleboro, MA 02703


                  Sentinel Insurance Company
                  1 Hartford Plaza
                  Hartford, CT 06105


                  Sherwin Williams Co.
                  2301 Duss Avenue Suite 23
                  Ambridge, PA 15003-1865


                  ShopTech
                  180 Glastonbury Blvd
                  Suite 303
                  Glastonbury, CT 06033


                  ShopTech
                  4400 Alliance Gateway Freeway
                  Suite 154
                  Fort Worth, TX 76177


                  Simmerman Law Office
                  254 EAST MAIN STREET
                  Clarksburg, WV 26301


                  Simplex Inc
                  5300 Rising Moon Rd
                  Springfield, IL 62711


                  SKY GEEK
                  30 Airway Dr
                  Suite 2
                  Lagrangeville, NY 12540


                  SKYCO INTERN
                  P.O. Box 704
                  Putnam, CT 06260


                  Skyco International
                  P.O. Box 704
                  Putnam, CT 06260
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                  Slovinsky & Slovinsky
                  310 I St
                  Chula Vista, CA 91910


                  SM Sales LLC
                  P.O. Box 69
                  Danville, KS 67036


                  SMART TECH
                  419 Broad Street
                  Klamath, OR 97601


                  SMITH FILTER
                  5000 41st Street Ct.
                  Moline, IL 61265


                  Smithers
                  121 South Main Street
                  Suite 300
                  Akron, OH 44308


                  Southwell Corp.
                  #102 5041 Regent Street
                  Burnaby, BC
                  V5C 4H


                  Speciality Valve & Controls Co.
                  3001 Griffith St.
                  Charlotte, NC 28203


                  Spectrum Retirement Services         Corp
                  115 Library Hill Lane
                  Suite E
                  Lexington, SC 29702


                  SPUNSTRAND, INC.
                  3731 N. Ramsey Rd.
                  Suite 105
                  Coeur d'Alene, ID 83815


                  State Electric
                  310 Davis Road
                  Culloden, WV 25510
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                  State Motor & Control Solutions
                  P.O. Box 28589
                  1977 Congressional Drive
                  St. Louis, MO 63146


                  STEEL CITY SUPPLY
                  2010 MARSHALL ST
                  Tarentum, PA 15084


                  Steptoe & Johnson
                  P.O. Box 247
                  Bridgeport, WV 26330


                  Steven R Maughan
                  5890 S 5900 W
                  Hooper, UT 84315


                  Summit Insurance Group Inc.
                  PO Box 2485
                  Huntersville, NC 28070-2485


                  Sunbelt Rentals
                  2039 Pleasant Valley Rd
                  Fairmont, WV 26554


                  SUPER RAD
                  104 Peavey Rd
                  Chaska, MN 55318


                  Superior Rad
                  104 Peavey Rd
                  Chaska, MN 55318


                  SUPPLY HOUSE
                  130 Spagnoli Rd
                  Melville, NY 11747


                  Synergy Electric Company, Inc.
                  10740 Kenney Street, Suite 401
                  Santee, CA 92071
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                  Tammy Henry
                  c/o Charles C. Wise III
                  Bowles Rice LLP
                  125 Granville Square, Suite 400
                  Morgantown, WV 26501


                  Tayloe Gray Agency LLC
                  221 N. 2nd Street
                  Wilimington, NC 28401


                  TE CONNECTIVITY
                  1610 Cobb International Blvd
                  Suite 5
                  Kennesaw, GA 30152


                  TE CONNECTIVITY
                  24627 Network Place
                  Chicago, IL 60673-1246


                  TELEDYNE LEC
                  700 Chestnut Ridge Rod
                  Chestnut Ridge, NY 10977


                  Test Equipment Connection Corp
                  105 Commerce St
                  Suite 105
                  Lake Mary, Fl 32746


                  Texas Comptroller of Public Accounts
                  Lyndon B. Johnson State Office Building
                  111 East 17th Street
                  Austin, TX 78774


                  Texas Pneumatic Tools Inc
                  1315 Redgate Ave
                  Norfolk, VA 23507


                  TForce
                  28013 Network Place
                  Chicago, IL 60673


                  The 84 Group, Inc.
                  300 Villani Drive
                  Bridgeville, PA 15017
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                  The Haskell Company
                  111 Riverside Avenue
                  Jacksonville, FL 32202


                  The Indemnity Group, LLC
                  3828 Walnut Hills Road
                  Suite 200
                  Beachwood, OH 44122


                  The Warehouse Rentals
                  1335 S Main St
                  Greensburg, PA 15601


                  Thomas E. Shepard
                  1505 Shenandoah St
                  Hollywood, FL 33020


                  THYSSENKRUPP
                  6050 Oak Tree Blvd
                  Independence, OH 44131


                  THYSSENKRUPP
                  PO Box 2625
                  Carol Stream, IL 60132-2625


                  TIEFENBACH
                  112 Corporate Drive
                  Morgantown, WV 26501


                  TMAC
                  357 Bay St
                  Morgantown, WV 26508


                  Total Quality Logistics LLC
                  4289 Ivy Pointe Boulevard
                  Cincinnati, OH 45245


                  Tower Lane Properties
                  132 Tower Lane
                  Westover, WV 26501


                  Tower Lane Properties, LLC
                  132 Tower Lane
                  Morgantown, WV 26501
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                  TRAFFIC TECH
                  111 E. Wacker Drive
                  Suite 2500
                  Chicago, IL 60601


                  Transcat
                  2056 S Alex Rd
                  Carrollton, OH 45449


                  Triad Engineering Inc
                  1010 Coles Blvd., Suite 200
                  Portsmouth, OH 45662


                  TriMech Solutions LLC
                  4461 Cox Road
                  Suite 302
                  Glen Allen, VA 23060


                  TriMech Solutions LLC
                  4991 Lake Brook Drive
                  Suite 300
                  Glen Allen, VA 23060


                  Triple B Forwarders
                  PO Box 9249
                  Tamoning, Guam 96931-0000


                  Truist Bank
                  500 E. Broad Street
                  Statesville, NC 28677-5331


                  Truist Bank
                  500 E. Broad Street
                  Statesville, NC 28677


                  Truist Bank
                  PO Box 1626
                  Wilson, NC 27894-9961


                  TWIST Inc.
                  47 South Limestone
                  Jamestown, OH 45335
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                  Twist, Inc.
                  5100 Waynesville-Jamestown Road
                  Jamestown, OH 45335


                  TWRS
                  1335 S. Main Street
                  Greensburg, PA 15601


                  U. S. Small Business Administration
                  2 North Street, Suite 320
                  Birmingham, AL 35203


                  ULINE
                  PO Box 88741
                  Chicago, IL 60680


                  United Healthcare
                  9800 Health Care Lane
                  Hopkins, MN 55343


                  United Refrigeration
                  1647 E. Pike Street
                  Clarksburg, WV 26301


                  United Refrigeration
                  2051 Royal Avenue
                  Simi Valley, CA 93065


                  United Rentals
                  289 Leroy Rd
                  Williston, VT 05495


                  United Rentals
                  PO Box 10071
                  Atlanta, GA 30384-0711


                  United Rentals Long Beach CA
                  2020 W. Pacific Coast Hwy
                  Long Beach, CA 90810


                  United States Plastic Corporation
                  1200 Neubrecht Road
                  Lima, OH 45801
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                  Unitherm Inc
                  1256 First Street South
                  Columbia, SC 29209


                  Universal Funding Services
                  P.O. Box 13115
                  Spokane, WA 99213-3115


                  Universal Steel Buildings
                  400 Island Ave
                  McKees Rocks, PA 15136


                  UPS
                  P.O. Box 809488
                  Chicago, IL 60680


                  UPS
                  55 Glenlake Parkway, NE
                  Atlanta, GA 30328


                  URI
                  1647 E. Pike Street
                  Clarksburg, WV 26301


                  US Attorney's Office
                  227 W. Trade St Ste 1650
                  Attn: Civil Process Clerk
                  Charlotte, NC 28202-1675


                  US Plastics Corp
                  1390 Neubrecht Rd
                  Lima, OH 45801


                  USPS
                  900 Brentwood Road N.E.
                  Washington, DC 20066


                  USS Division-BGSE
                  9745 East State Road 205-57
                  Churubusco, IN 46723


                  VAC
                  PO Box 933067
                  Atlanta, GA 31193
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                  Valve Teck
                  4575 Damascus Road
                  Memphis, TN 38118


                  Verdict Media Group
                  37/43 Prospect St
                  United Kingdom
                  Hull HU28PX


                  Vine Electric Inc
                  101 American Canyon Rd 508-202
                  American Canyon, CA 94503


                  VT Air National Guard
                  45 NCO Drive, Suite A
                  South Burlington, VT 05403


                  Wabash Electric
                  1400 South Street
                  Wabash, IN 46992


                  WEG Electric
                  6555 Sugarloaf Parkway
                  Duluth, GA 30097


                  Wesco
                  185 Thorn Hill Road
                  Warrendale, PA 15086


                  Wesco Distribution
                  256 Ragland Road
                  Beckley, WV 25801


                  WESCO NC
                  5521 Lakeview Rd
                  Suite W
                  Charlotte, NC 28269


                  WESCO WV
                  109 Platinum Dr
                  Suite C
                  Bridgeport, WV 26330
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                  WEST ELECT
                  8 W. Electric Dr
                  Morgantown, WV 26508


                  West Virginia Department of Revenue
                  Attn: State Tax Department
                  1001 Lee Street East
                  Charleston, WV 25311


                  William Scotsman, Inc.
                  1020 Robb Hill Road
                  Oakdale, PA 15071


                  Willscot
                  901 South Bond St
                  Suite 600
                  Baltimore, MD 21231


                  WILSON WORKS
                  202 Distributor Dr
                  Morgantown, WV 26501


                  Woodstar
                  46 Chemin du Faison
                  Saint-Sauveur
                  Quebec, Canada
                  JOR 1R1


                  WV Emerg Physicians LLP
                  P.O. Box 650292
                  Dallas, TX 75265


                  WVBCSE
                  P.O. Box 247
                  Charleston, WV 25321


                  YASKAWA
                  2121 Norman Drive S
                  Waukegan, IL 60085


                  YASKAWA
                  1055 Johnson Drive
                  Buffalo Grove, IL 60089
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                  Young Galvanizing
                  8281 Mercer St
                  Pulaski, PA 16143


                  Zachary Gunwall
                  218 Mineral Springs Circle
                  Lexington, SC 29073


                  ZipRecruiter, Inc.
                  401 Wilshire Boulevard
                  11th Floor
                  Santa Monica, CA 90401


                  Zoeller Pump Company
                  3649 Cane Run Rd
                  Louisville, KY 40211


                  Zoom
                  55 Almaden Blvd.
                  San Jose, CA 95113


                  ZORO TOOLS
                  P.O .Box 5233
                  Janesville, WI 53547


                  ZORO TOOLS
                  909 Asbury Drive
                  Buffalo Grove, IL 60089


                  ZubPower Inc
                  227 Alison Crescent
                  Oakville, ON L6L067
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                                        United States Bankruptcy Court
                                          Western District of North Carolina
 In re   B GSE Group, LLC                                                           Case No.
                                                           Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for B GSE Group, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




January 6, 2023                                /s/ Richard S. Wright
Date                                           Richard S. Wright 24622
                                               Signature of Attorney or Litigant
                                               Counsel for B GSE Group, LLC
                                               Moon Wright & Houston, PLLC
                                               212 N. McDowell Street
                                               Suite 200
                                               Charlotte, NC 28204
                                               704-944-6560 Fax:704-944-0380
                                               rwright@mwhattorneys.com
